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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 In Re: Vioxx                                 *
 Products Liability Litigation                *
                                              *
 This Document Relates To:                    *     MDL No. 05-1657
                                              *
                                              *     JUDGE FALLON
 Laverne Watson, Individually and as          *
 Administratrix of the Estate of              *     MAGISTRATE JUDGE
 Catherine Holt v. Merck & Co., Inc.          *     KNOWLES
                                              *
                                              *
                                              *
                                              *
 No. 06-11098                                 *


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                        ORDER OF DISMISSAL WITH PREJUDICE

               Plaintiff Laverne Watson, and Defendant, Merck & Co., Inc. hereby stipulate,

pursuant to Fed. R. Civ. Proc. 41(a)(1), to a dismissal with prejudice all of claims against Merck

& Co., Inc. and all other defendants in the above-styled lawsuit, each party to bear its own costs.



       NEW ORLEANS, LOUISIANA, this ____ day of ________________, 2008.



                                                     _______________________
                                                         DISTRICT JUDGE




                                                                                             948127v.1
